Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Page 1 of 6 PageID #: 57



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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 Korey Watson

                                  Plaintiff,
                                                               SCHEDULING ORDER
                      -against-

 The City of New York et al                                    23-CV-8975(LDH)(TAM)

                                                  Defendant.

--------------------------------------------------------X

TARYN A. MERKL, United States Magistrate Judge:

The parties shall file all submissions electronically and will only receive
correspondence from the Court electronically. It is the responsibility of the parties to
confirm that their contact information and e-mail addresses are correct and kept up to
date throughout the pendency of the case, as well as to regularly monitor the status of
their cases in order to avoid missing court appearances or deadlines set by the Court.

The parties are directed to appear for an INITIAL CONFERENCE on April 17, 2024 at
11:30AM before United States Magistrate Judge Taryn A. Merkl. The parties are
directed to call the toll-free number (877) 336-1839. The access code is 3914302. Counsel
for all parties must be present.

Plaintiff’s counsel is respectfully directed to confirm with Defendant’s counsel that
all necessary participants are aware of this conference. In the event an answer or
notice of appearance by defense counsel has not yet been filed at the time this Order is
received, Plaintiff’s counsel is to notify counsel for the Defendant of this conference.
Requests for adjournments will not be considered unless made at least forty-eight
(48) hours before the scheduled conference.

   I.       Rules Governing Discovery

Prior to the Initial Conference, the parties are to comply with the requirements of
Fed. R. Civ. P. 26(f). As required by the Federal Rules of Civil Procedure, counsel shall,
as soon as possible and in any event at least five days before the Initial Conference,
meet to discuss the nature and basis of their claims and defense, the possibilities for a
prompt settlement, arrangements for their initial disclosures under Rule 26(a)(1), and
the contents of a proposed discovery plan, including the matters set forth in Rule
26(f)(3)(A)–(F). See Fed. R. Civ. P. 26(f).

Counsel shall also discuss (1) the scope of any anticipated electronic discovery, the
preservation of electronically stored data, and the cost of locating, maintaining, and

                                                        1
Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Page 2 of 6 PageID #: 58



producing that data; (2) whether any party will rely upon expert testimony, and if so,
whether counsel are able to reach an agreement on how material exchanged between
counsel and any expert witness will be treated, and in particular, whether draft expert
reports and written and electronic communications between expert witnesses and
counsel will be retained; and (3) the scope of any anticipated protective order, including
whether to address inadvertent disclosure of privileged information therein, pursuant
to Rule 502 of the Federal Rules of Evidence.

Automatic disclosures under Rule 26(a)(1) are required. At least two days prior to the
Initial Conference, the parties shall also exchange the names and, if known, the
addresses and telephone numbers of persons who are likely to have knowledge of
discoverable information relevant to disputed facts, and otherwise comply with all of
the automatic disclosure requirements in Rule 26(a)(1) of the Federal Rules of Civil
Procedure.

Additional discovery may commence prior to the Initial Conference. Parties may serve
document requests prior to the Rule 26(f) conference, and the requests are deemed
served on the date of the conference. See Fed. R. Civ. P. 26(d)(2) and 34(b)(2)(A).

   II.   Preparation of a Discovery Plan

To assist in discovery, the Court has included in this Order a Case Management
Worksheet that must be completed and submitted to the Court via ECF, at least seven
(7) days prior to the conference. The Worksheet sets forth a date for completion of all
discovery. The parties are directed to establish reasonable interim discovery deadlines
to meet the needs of their case.

Phase I Discovery consists of the information that the parties believe needs to be
exchanged before a reasoned settlement discussion can take place. In some cases, this
may consist of the initial disclosures; in other cases, more extensive exchanges of
information may be required. This phase of discovery should be tailored to avoid
expense and delay and with the recognition that parties may have to consider
resolution with incomplete information. This phase of discovery will presumptively
require no more than 60 days. Phase II Discovery represents the balance of discovery
required to prepare for trial.

At the conference, the Court will consider the parties’ suggested deadlines and, upon
consideration of the needs of the case and the rules and practices of the assigned District
Judge, enter an appropriate scheduling order. Should the parties believe the case
requires a non-phased discovery approach, the parties shall submit a full report as
required under Rule 26 and a proposed schedule for the Court’s consideration. Once a
scheduling order has been entered, discovery deadlines will be enforced and
amendments to the schedule will be considered only for good cause.

As required by Local Civil Rule 26.4, the parties and counsel are expected to work
cooperatively during all aspects of discovery, including in matters relating to
scheduling and timing of various discovery procedures.




                                            2
Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Page 3 of 6 PageID #: 59



   III.   Initial Conference

To ensure that the Initial Conference is meaningful and serves its purpose under the
Federal Rules of Civil Procedure, an attorney who has entered an appearance on ECF
and who is familiar with the details of the case must appear at the conference. The
Court does, however, encourage the participation of relatively inexperienced attorneys,
provided that they possess the authority to commit to a discovery schedule.

Counsel shall be fully prepared to discuss this matter and any questions regarding this
case, including jurisdiction, venue, schedules for discovery and for trial, and settlement.
At the Initial Conference, counsel shall be prepared to stipulate to facts as to which
there is no genuine dispute: e.g., the time and place of events that are the subject of the
litigation, the owners and operators of the instrumentalities or property involved, the
status of the parties, the extent of any insurance coverage and whether required
administrative procedures have been followed, required notices given, and reports
made.

The parties should review the attached information sheet regarding the Court’s
Alternative Dispute Resolution Program.

   IV.    Production of Documents and Privilege Logs

The parties are reminded of their responsibilities regarding the production of
documents under Fed. R. Civ. P. 34(b)(2)(E). Should a party withhold documents on
grounds of privilege, such party must provide a privilege log that sets forth the
information required by Local Civil Rule 26.2(a)(2)(A).

   V.     Individual Rules & Discovery Disputes

It is the responsibility of the parties to comply with the Individual Rules of the District
Judge assigned to this case, as well as the undersigned Magistrate Judge, including
those relating to sealed documents, pro se parties, and courtesy copies. In addition, to
the extent that discovery disputes arise during the course of litigation, the parties are
required to make a good faith effort to resolve disputes before making any discovery
motion. See Fed. R. Civ. P. 37(a)(1); E.D.N.Y. Local Civil Rule 37.3(a). Pursuant to
Federal Rule of Civil Procedure 16(b)(3)(B)(v) and Section 3 of Judge Merkl’s individual
rules, no motion under Rules 26 through 37, inclusive, of the Federal Rules of Civil
Procedure will be heard unless counsel for the moving party has first requested an
informal conference with the Court in a joint letter of no more than five pages.

SO ORDERED.

Dated: Brooklyn, New York
      March 1, 2024



                                            TARYN A. MERKL
                                            UNITED STATES MAGISTRATE JUDGE

                                             3
Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Page 4 of 6 PageID #: 60



Case Name: ______________________                   Case Number: __-CV-______(___) (TAM)


                        CASE MANAGEMENT WORKSHEET

                                      Preparation for Initial Conference

 Rule 26(f) conference held?                                                        Date:

 Deadline for Rule 26(a) initial disclosures and any HIPAA-
 compliant records authorizations:
 Procedures discussed for producing Electronically Stored
                                                                                    Yes             No   N/A
 Information (ESI)?

 Confidentiality Order to be submitted for Court approval?                          Yes             No   N/A
                                                                                    Plaintiff(s):
 Anticipated number of depositions:
                                                                                    Defendant(s):

 First requests for production of documents and for
 interrogatories due by:

                     Proposed Deadlines for Pre-Settlement Discovery (Phase I)

 Agreed upon completion date for Phase I Discovery:
 (Reciprocal agreed upon document production and other discovery necessary for a
 reasoned consideration of settlement. Presumptively 60 days after Initial
 Conference.)

 Date for pre-settlement status conference with counsel:
 (Proposed date to report the parties’ preparedness for mediation or a settlement
 conference. Presumptively 10-15 days after the completion of Phase I Discovery.)

                 Proposed Deadlines for Discovery and Motion Practice (Phase II)
 Deadline to join new parties or amend pleadings as of right:
 (Presumptively 15 days after initial settlement conference)

 All fact discovery completed by:
 (Presumptively 3.5 months after first requests for documents/interrogatories)

 Joint status report certifying close of fact discovery:
                                                                                    Plaintiff(s):
 Anticipated number of expert reports:
                                                                                    Defendant(s):
Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Page 5 of 6 PageID #: 61




 Exchange of expert disclosures completed by:
 (Presumptively 30 days after fact discovery)

 Expert depositions completed by:
 (Presumptively 30 days after initial expert disclosures)

 Exchange of rebuttal expert reports by:
 (Presumptively 30–45 days after initial expert disclosures)

 All expert discovery completed by:

 CERTIFICATION OF THE COMPLETION OF ALL
 DISCOVERY BY:
 (Presumptively 9 months after Initial Conference)

 Final date to take first step in dispositive motion practice:
 (Parties are directed to consult the District Judge’s Individual Rules regarding such
 motion practice. Presumptively 30 days after completion of all discovery.)

 Do the parties wish to be referred to EDNY’s mediation
                                                                                         Yes          No
 program pursuant to Local Rule 83.8?

 Do the parties consent to trial before a Magistrate Judge
 pursuant to 28 U.S.C. § 636(c)?
 (The fillable consent form may be found at                                              Yes          No
 https://www.uscourts.gov/forms/civil-forms/notice-consent-and-reference-civil-
 action-magistrate-judge. Consenting does not affect a party’s right to a jury trial.)



SO ORDERED:


________________________                                                             ________________________
TARYN A. MERKL                                                                       DATE
United States Magistrate Judge
          Case 1:23-cv-08975-LDH-TAM Document 14 Filed 03/01/24 Robyn
                                                                 PageWeinstein,
                                                                      6 of 6 PageID    #: 62
                                                                                ADR Administrator
                                                                                    t. 718.613.2578

Eastern District of New York                                                        c. 917.796.6244
                                                                                    Robyn_Weinstein@nyed.uscourts.gov

Alternative Dispute Resolution Program                                              Rita Credle, Arbitration Clerk
                                                                                    t. 718.613.2325
                                                                                    Rita.Credle@nyed.uscourts.gov




ADR at the EDNY                                                   Representation in Mediation
The Eastern District ADR office offers court annexed              The EDNY has a long standing tradition of providing pro
mediation and arbitration services to litigants. ADR services     bono legal assistance to pro se litigants. The EDNY ADR
are administered by Robyn Weinstein, the ADR Administrator        Program administers a representation in mediation
here at the Eastern District.                                     program which provides pro se litigants with claims of
                                                                  employment discrimination an opportunity to obtain
Mediation                                                         counsel for the limited purpose of mediation. In these
                                                                  cases, EDNY mediators who mediate these claims serve pro
Established in 1992, the mediation program at the Eastern
                                                                  bono.
District of New York consists of a panel of more than two
hundred and fifty mediators with varying specialties and
areas of expertise. Cases are referred to mediation by            Arbitration
judges or by party request at any time before the                 The EDNY arbitration program was established in 1986 and
disposition of the case.                                          is one of ten districts with a mandatory Court‐Annexed
Mediation is a confidential process in which parties and          Arbitration program.
counsel meet with a neutral third party who is trained in         At the EDNY a case is automatically referred to arbitration
settling disputes. Mediation provides an opportunity to           where money damages do not exceed $150,000. There is
explore a wide range of potential solutions and to address        an exception to the mandatory referral for cases involving
interests that may be outside the scope of the stated             social security, tax matters, prisoners’ civil rights and any
controversy or which could not be addressed by judicial           action based on an alleged violation of a right secured by
action. If a settlement is not reached during the mediation       the Constitution of the United States or if jurisdiction is
session, parties may proceed to trial with all appellate rights   based in whole or in part on Title 28, U.S.C. § 1343.
preserved.
                                                                  Arbitration is a process where a neutral third‐party
Mediators obtained through the court annexed mediation            arbitrator will adjudicate the dispute in an expedited
program offer their services at a reduced rate of $600.00         manner. Arbitrations are heard by one qualified arbitrator,
for the first four hours, and $250.00 per hour for each hour      unless one or more parties request a panel of three. The
thereafter. Mediators do not charge for any time spent in         arbitration hearings usually take place within six months of
preparation of the mediation session.                             the filing of the answer, and the Federal Rules of Evidence
Court annexed mediation at the EDNY is governed by Local          serve as guidelines but are not rigidly enforced. At the
Civil Rule 83.8.                                                  conclusion of the arbitration hearing the arbitrator will issue
                                                                  an award in favor one party, which will be binding, unless
Hurricane Sandy Mediation Panel                                   one of the parties requests a trial de novo.

The Court also established a Hurricane Sandy Mediation            Court Annexed Arbitration at the EDNY is governed by Local
program, as a means to resolve the litigation surrounding         Civil rule 83.7
insurance claims filed by those affected by the super storm.
                                                                  For more information about the EDNY ADR Program visit
The EDNY maintains a list of neutrals who are trained and         https://www.nyed.uscourts.gov/alternative‐dispute‐
qualified to assist parties in resolving matters related to       resolution
damage caused by Hurricane Sandy.
